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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                Clarksburg Division

PAOLO FARAH,

               Plaintiff,
v.                                                           Case No. 1:22-cv-153-TSK
                                                             Judge Thomas S. Kleeh


 WEST VIRGINIA UNIVERSITY
 BOARD OF GOVERNORS, SAMUEL TAYLOR,
 CODY STEWART, JESSE RICHARDSON,
 MAJA HOLMES, KAREN KUNZ,
 CHRISTOPHER PLEIN, COREY COLYER,
 and LISA DEFRANK-COLE,

               Defendants.

      STIPULATION TO EXTEND DEADLINE TO FILE MOTION TO COMPEL
       On September 20, 2023, Defendant West Virginia University Board of Governors (the

“WVUBOG”) served its First Set of Interrogatories and Requests for Production of Documents

upon Plaintiff Paolo Farah (“Plaintiff”). (ECF No. 40.) On October 20, 2023, Plaintiff served his

responses. (ECF Nos. 45, 46.)

       By letter dated November 6, 2023, the WVUBOG notified Plaintiff of several deficiencies

regarding his discovery responses. Plaintiff has agreed to supplement his discovery responses by

December 20, 2023, in light of obtaining new counsel as of November 8, 2023. (ECF No. 51.)

Accordingly, the parties hereby stipulate and agree, by counsel, that the 30-day deadline for filing

a motion to compel regarding the above-referenced discovery responses shall be extended until

January 20, 2024. This extension will not interfere with the Scheduling Order.

       Respectfully submitted this 15th day of November, 2023.
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/s/ Wendy G. Adkins                    /s/ Sean W, Cook (by WGA with permission)
Wendy G. Adkins (WVSB # 9412)          Sean W. Cook (WVSB # 10432)
Jackson Kelly PLLC                     309 Dolaron Lane
3000 Swiss Pine Way, Suite 200         South Charleston, WV 25309
Morgantown, West Virginia 26501        Telephone: 681-313-9809
Telephone: 304-284-4100                swcook1215@gmail.com
Facsimile: 304-284-4142
wgadkins@jacksonkelly.com              Counsel for Plaintiff

and

Laura H. Lorensen (WVSB # 12748)
Jackson Kelly PLLC
500 Lee Street, East, Suite 1600
Post Office Box 553
Charleston, West Virginia 25322
Telephone: 304-340-1000
Facsimile: 304-340-1080
laura.lorensen@jacksonkelly.com

Counsel for West Virginia University
Board of Governors
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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
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PAOLO FARAH,

              Plaintiff,

v.                                                        NO     1:22-CV-153 TSK


 WEST VIRGINIA UNIVERSITY
 BOARD OF GOVERNORS, SAMUEL TAYLOR,
 CODY STEWART, JESSE RICHARDSON,
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 CHRISTOPHER PLEIN, COREY COLYER,
 And LISA DEFRANK-COLE,

              Defendants

                               CERTIFICATE OF SERVICE

       I, Wendy G. Adkins, hereby certify that on November 15, 2023, I electronically filed the

foregoing with the using the CM/ECF system, which will send notification of such filing to the

following:

                                       Sean W. Cook
                                     309 Dolaron Lane
                                South Charleston, WV 25309
                                 swcook1215@gmail.com




                                           /s/ Wendy G. Adkins
                                           Wendy G. Adkins, Esquire (WVSB #9412)
